Case 1-19-40983-cec Doc 20 Filed 04/19/19 Entered 04/19/19 10:29:03

Return Date: 06/13/2019 @ 11:00am _
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: lV) oo rele ~—T. Stoware

 

Case No. 19-40983-cec
Chapter 7

Debtor(s)
~-- Xx

 

NOTICE OF MOTION

PLEASE TAKE NOTICE that upon the annexed application of

Orce | CK. y. Qle wart , a hearing will be held before the Hon.
Carla E. Craig , Bankruptcy Judge, to consider the motion for an Order

 

 

granting relief as follows:

Reamsicler the motion laztd on 4-16-!9
Grewbaag the. matey,

 

 

 

 

 

Co Date and time of hearing: G - |2d ~ | q (. l{ Q Yn
CY Location: U.S. Bankruptcy Court

~ 271-C Cadman Plaza East

An =a Brooklyn, New York 11201-1800

= Courtroom # 3529, _3rd__ Floor

paw A= 1P— 19. Mut Manast

Signf ture

a name: Wh, cel Qi.’ i be woscv fr

Address: |408 Ses¢ S46. Vt peer
AVvecidcn. WY as4

Phone: HH & ~ Fe3- SLO

Email: _ --evv re, Stew@ gmat, Con

 

 
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

inte: Marcela T. Stewark

 

Case No. 19-40983-cec
Chapter 7

Debtor(s)
------ X

 

APPLICATION IN SUPPORT OF MOTION

TO THE HON. Carla E. Craig , Bankruptcy Judge
1, fy RICE | a [ - S leoJ A/F , Debtor , make this application in

support of my motion for the following relief:

Reeomader the moten held om 4aliell?
(teatdrung the Ste.

 

 

 

 

 

In support of this motion, I hereby allege as follows:

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howevel, the reg St Vag relug peacm Si heyertm
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werer bells and light ~Pomaras pan my Ne

AL oppose 4m the name OF A470 Ne ho Stole
MY REA \

 

 

 

 

 

 

 

 

 

Wherefore, Applicant prays for an Order granting the relief requested.

Dated: 4-1 9-65 ort

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In re: Mawele TY Sle w a

 

Case No. 19-40983-cec
Chapter 7

Debtor(s)
---- xX

 

CERTIFICATE OF SERVICE

The undersigned certifies that on uf _ oa | , acopy of the annexed Motion was
served by depositing same, enclosed in a properly addressed postage-paid envelope, in an official
depository under the exclusive care and custody of the United States Postal Service within the
State of New York, upon /below specify the name and mailing address of each party served]:

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suite HOG PO yor!
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